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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 COMMITTEE FOR A CONSTRUCTIVE
 TOMORROW, et al.,

                  Plaintiffs,
                                                            Civil Action No. 24-774 (LLA)
        v.

 UNITED STATES DEPARTMENT OF THE
 INTERIOR, et al.,

                  Defendants.


                                     SCHEDULING ORDER

       Upon consideration of the parties’ Proposed Scheduling Order, ECF No. 23, it is hereby

ORDERED that the following schedule shall govern this case:

       1. Defendants shall file their responses to the complaint on or before May 23, 2024.

       2. Federal Defendants shall produce the certified Bureau of Ocean Energy Management

             administrative record to the parties on or before August 2, 2024.

       3. The parties shall confer over any disputes regarding the administrative record and, if

             necessary, file any motions regarding the administrative record on or before

             September 6, 2024.

       4. Plaintiffs shall file their motion for summary judgment on or before October 4, 2024,

             or, if a motion regarding the sufficiency of the administrative record is filed, within

             thirty days of the court’s ruling on such a motion.

       5. Federal Defendants shall file their opposition to Plaintiffs’ motion and cross-motion

             for summary judgment no later than sixty days after Plaintiffs’ motion is filed.
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        6. Dominion Energy shall file its opposition to Plaintiffs’ motion and cross-motion for

             summary judgment no later than fourteen days after the Federal Defendants’

             cross-motion is filed.

        7. Plaintiffs shall file their reply in support of their motion and opposition to the Federal

             Defendants’ and Dominion Energy’s cross-motions for summary judgment no later

             than thirty days after Dominion Energy’s opposition and cross-motion is filed.

        8. Federal Defendants shall file their reply in support of their cross-motion for summary

             judgment no later than thirty days after Plaintiffs’ opposition is filed.

        9. Dominion Energy shall its reply in support of its cross-motion for summary judgment

             no later than fourteen days after the Federal Defendants’ reply is filed.

        The parties are to communicate with the court by motion, opposition, reply, or notice, but

not by letter or phone call. All inquiries concerning the status or scheduling of any pending matter

shall   be     directed    to   the    Courtroom        Deputy   Clerk,    Ms.     Chashawn   White

(Chashawn_White@dcd.uscourts.gov), rather than to chambers. If Ms. White is unavailable, such

inquiries shall be directed to the staff person in the Clerk’s Office who has been designated as her

substitute. Chambers personnel will not handle questions relating to the status or scheduling of

pending matters, nor will chambers staff provide legal advice of any kind. In an emergency,

however, chambers can be contacted at (202) 354-3500.

        The court will grant continuances, extensions, or enlargements of time only upon the filing

of a motion. Motions for continuance of a court date must be filed at least three days before the

hearing and must include at least two alternative dates that have been agreed to by the parties.

Requests that do not include alternative dates acceptable to all parties will be denied.

        SO ORDERED.



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                                           /s/ Loren L. AliKhan
                                           LOREN L. ALIKHAN
                                           United States District Judge

Date: May 23, 2024




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